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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR20-0092-JCC-11
10                              Plaintiff,                     ORDER
11          v.

12   ALYSHA MARIE JONES,

13                              Defendant.
14

15          This matter comes before the Court on Defendant’s motion for a reduction in sentence
16   (Dkt. No. 1174). Having considered the briefing and the relevant record, the Court DENIES the
17   motion for the reasons explained herein.
18          Defendant was sentenced to a custodial term of 90 months for conspiracy to distribute
19   controlled substances. (See Dkt. Nos. 378, 1074.) Defendant now asks for a reduction of that
20   sentence pursuant to Amendment 821 to the United States Sentencing Guidelines (“USSG”).
21   (See Dkt. No. 1174.) The request is based on the Sentencing Commission’s change to the
22   calculation and application of status points to an offender’s criminal history category. (Id. at 2.) 1
23          To qualify for a sentence reduction, amongst other requirements, the reduction must be
24   consistent with the Sentencing Commission’s applicable policy statements. 18 U.S.C.
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           The amendment reduced or eliminated status points in certain instances. See USSG
26   Amendment 821, Part A.

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 1   § 3582(c)(2); see United States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per curiam). And

 2   according to the current version of section 1B1.10(a)(2)(B), a sentencing court is not authorized

 3   to reduce a defendant’s sentence when a retroactive amendment does not result in a lower

 4   applicable sentencing range.

 5          Here, Defendant’s sentencing range is not altered by Amendment 821. This is because

 6   her criminal history remains at Category III, and thus her guideline sentence remains the same:

 7   262–327 months. USSG Ch. 5 Pt. A Sentencing Table (offense level 37 at Category III); see 18

 8   U.S.C. § 3582(c)(2). Additionally, Defendant fails to qualify as a zero-point offender because
 9   she received criminal history points from Category Four, Part A. (See Dkt. No. 1052 at 10–12.)
10   Accordingly, Defendant’s motion for a reduction of her sentence (Dkt. No. 1174) is DENIED.
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12          DATED this 20th day of June 2024.




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                                                          John C. Coughenour
16                                                        UNITED STATES DISTRICT JUDGE
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